          Case 2:08-cr-00449-WBS Document 276 Filed 07/22/14 Page 1 of 4


 1   JAMES R. GREINER, ESQ.
 2   CALIFORNIA STATE BAR NUMBER 123357
     LAW OFFICES OF JAMES R. GREINER
 3
     1024 IRON POINT ROAD
 4   FOLSOM, CALIFORNIA 95630
     TELEPHONE: (916) 357-6701
 5
     FAX: (916) 920-7951
 6   E mail: jaygreiner@midtown.net
 7
     ATTORNEY FOR DEFENDANT
 8   TIEN THE LE
 9

10            IN THE UNITED STATES DISTRICT COURT FOR THE
11

12                     EASTERN DISTRICT OF CALIFORNIA
13

14
     UNITED STATES OF AMERICA, )            CR-S-08-449-03 WBS
15                             )
16
         PLAINTIFF,            )          STIPULATION AND AGREEMENT
                               )          OF THE PARTIES TO CONTINUE
17                v.           )          BOTH SENTENCING AND THE
18                             )          DEFENSE MOTIONS FOR A NEW
     TIEN THE LE, et al.,      )          TRIAL AND JUDGMENT OF
19
                               )          ACQUITAL TO MONDAY,
20                             )          AUGUST 18, 2014 AND
                  DEFENDANTS. )           PROPOSED ORDER
21
     __________________________)
22

23

24
         The parties to this litigation, the United States
25
     of America, represented by Assistant United States
26
     Attorneys Jason Hitt and Jill Thomas, and the
27

28



                                  [Pleading Title] - 1
          Case 2:08-cr-00449-WBS Document 276 Filed 07/22/14 Page 2 of 4


 1
     defendant, Tien The Le, James R. Greiner, hereby agree
 2
     and stipulate to the following:
 3
                    1- By previous order, this matter was set
 4
     for motions hearing and sentencing on Monday, July 28,
 5
     2014 (See Docket Entry # 273);
 6
                    2. The defense has filed two post trial
 7
     motions, the first is a motion to vacate the jury
 8
     verdict and for a judgment of acquittal (See Docket
 9

10
     Entry # 215) and the second is a motion for a new trial

11
     (See Docket entry # 216). Both motions are critical and

12
     contain potentially complex issues which the parties

13   agree require the additional time for legal research
14   and briefing. The government has responded to both
15   motions on June 10, 2014. (See Docket # 274)
16                  3. The defense filed a sentencing
17   memorandum on August 12, 2013 (See Docket # 246). Since
18   the filing of that sentencing memorandum, the
19   Sentencing Commission has recommended and the
20   Department of Justice in certain cases has agreed that
21   an additional 2 point reduction in certain drug cases
22   is appropriate for the Court to consider. The defense
23   needs to file a modified sentencing memorandum with
24   that argument and the government then can reply. The
25   government can file its opposition to the defense
26   sentencing memorandum, if any, and if the government
27

28



                                  [Pleading Title] - 2
          Case 2:08-cr-00449-WBS Document 276 Filed 07/22/14 Page 3 of 4


 1
     files and opposition the defense needs to file its
 2
     reply.
 3
                    4. By this Stipulation, the parties
 4
     collectively now move to continue the motion hearing
 5
     and sentencing until Monday, August 18, 2014. The
 6
     parties agree there is no legal need to exclude time
 7
     pursuant to the Speedy Trial Act.
 8

 9
         IT IS SO AGREED TO AND STIPULATED TO BY THE
10

11   PARTIES.
12                  Each attorney has granted James R. Greiner
13
     full authority to sign for each individual attorney.
14

15       Respectfully submitted:
16
                          BENJAMIN B. WAGNER
17                        UNITED STATES ATTORNEY
18
     DATED: 7-21-14       /s/ JASON HITT
19                            JILL THOMAS
20                        _____________________________________
                          JASON HITT
21
                          JILL THOMAS
22                        ASSISTANT UNITED STATES ATTORNEYS
23
                          ATTORNEYS FOR THE PLAINTIFF

24   DATED: 7-21-14       /s/ James R. Greiner
25
                          _______________________________
26                        James R. Greiner
27                        Attorney for Defendant
                          TIEN THE LE
28



                                  [Pleading Title] - 3
          Case 2:08-cr-00449-WBS Document 276 Filed 07/22/14 Page 4 of 4


 1                                   ORDER
 2

 3

 4                  IT IS SO FOUND AND ORDERED.
 5
     Dated:   July 22, 2014
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28



                                  [Pleading Title] - 4
